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                     EXHIBIT G


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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                )         Chapter 11
                                                      )
W. R. GRACE & CO., et al.1                            )         Case No. 01-01139 (JKF)
                                                      )         Jointly Administered
                          Debtors.                    )

                           NOTICE OF NON-VOTING CLAIM STATUS
                           FOR JOINT PLAN OF REORGANIZATION

        The above-captioned debtors and debtors in possession (collectively, the “Debtors”) have
filed the First Amended Joint Plan of Reorganization under Chapter 11 of the Bankruptcy Code
of W. R. Grace & Co., et al., the Official Committee of Asbestos Personal Injury Claimants, the
Asbestos PI Future Claimants’ Representative, and the Official Committee of Equity Security
Holders Dated February 27, 2009 (as it may be amended or supplemented, the “Plan”) and a
Disclosure Statement with respect to the Plan (as it may be amended or supplemented, the
“Disclosure Statement”) pursuant to section 1125 of the Bankruptcy Code, 11 U.S.C. §§ 101-
1532 (the “Bankruptcy Code”).2

       On March 9, 2009, the Bankruptcy Court entered an order that, among other things,
approved the Disclosure Statement as containing adequate information, as required under section
1125(a) of the Bankruptcy Code, approved certain voting and tabulation procedures (the “Voting
Procedures”) for parties entitled to vote to accept or reject the Plan, and established May 20,
2009 as the Voting Deadline.

1   The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.),
    W. R. Grace & Co. Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
    Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
    Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
    (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., GC Limited Partners I, Inc., (f/k/a
    Grace Cocoa Limited Partners I, Inc.), GC Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC
    Management Corporation, GN Holdings, Inc. GPC Thomasville Corp., Gloucester New Communities
    Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
    Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
    Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
    (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
    Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
    R. Grace Capital Corporation., W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
    Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
    Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
    Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
    Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (F/k/a Nestor-BNA, Inc.), MRA
    Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
    Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
    Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
    Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.

2   All capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Plan.


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       Please note that the Plan provides that Class 7A Asbestos PD Claims (i.e., Asbestos PD
Claims other than US ZAI PD Claims) are unimpaired, but the Debtors are soliciting the votes of
Holders of Class 7A Asbestos PD Claims solely for purposes of section 524(g) of the
Bankruptcy Code. In addition, the Plan provides that Class 9 General Unsecured Claims are
unimpaired, but the Debtors have agreed to solicit the votes of Holders of General Unsecured
Claims on a provisional basis. The provisionally solicited votes of the Holders of General
Unsecured Claims will be given effect and used to determine acceptance or rejection of the Plan
by the Class if it is determined that Class 9 is impaired. If it is determined that Class 9 is
unimpaired, then Class 9 will be deemed to accept the Plan and any and all Ballots cast by
Holders of General Unsecured Claims will be disregarded for all purposes.

       Pursuant to the Voting Procedures, the Debtors are sending you this notice of non-voting
treatment (the “Notice of Non-Voting Claim Status”) with respect to the treatment (for voting
purposes only) of one or more Claims you have filed against the Debtors.

       Non-Voting Treatment: Pursuant to the Voting Procedures, you are not entitled to vote
to accept or reject the Plan because you have been identified as a Holder of either (i) a Class 9
Claim that is subject to a pending objection or (ii) a Class 7A or Class 7B Asbestos PD Claim
that was not timely filed on or before the March 2003 Bar Date or the US ZAI Claims bar date of
October 31, 2008, as applicable.

         Voting Motion: Should you wish to seek to have your Claim allowed for voting
purposes only, you must File with the Bankruptcy Court, on or before the Voting Deadline of
May 20, 2009, a motion for an order pursuant to Bankruptcy Rule 3018(a) temporarily allowing
such Claim in a specified amount for purposes of voting (a “Voting Motion”) to accept or reject
the Plan. The Voting Motion must be accompanied by a declaration by an appropriate
representative that (i) attaches a completed Ballot indicating how you intend to vote on the Plan,
(ii) certifies the proposed voting amount of your Claim, and (iii) attaches any evidence in support
of the proposed voting amount of your Claim.

       As to any Holder of a Claim filing a Voting Motion, such Holder’s vote shall not be
counted unless the Voting Motion is granted (in whole or in part) in which case the Ballot will be
counted in the amount ordered by the Bankruptcy Court. A ruling on a Voting Motion will
determine only the voting rights with respect to a Claim; the ruling will not affect the rights of
the Holder of the Claim, the Debtors, the Reorganized Debtors, or any other Entity with respect
to allowance and distribution with respect to the Claim. Any Voting Motion must be served
upon the list of Notice parties annexed hereto.




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        You may request a Ballot for inclusion with the declaration in support of your Voting
Motion by calling the hotline established by the Debtors’ court-approved Voting Agent, BMC
Group, Inc., at (888) 909-0100, sending an email to wrgrace@bmcgroup.com, or sending a
written request by U.S. Mail to the Voting Agent at:

                       BMC Group, Inc.
                       Attn: W. R. Grace Voting Agent
                       P.O. Box 913
                       El Segundo, CA 90245-0913

COPIES OF THE PLAN, DISCLOSURE STATEMENT, EXHIBIT BOOK, VOTING
PROCEDURES (AND ALL EXHIBITS THERETO), AND BALLOTS AND VOTING
INSTRUCTIONS ARE ALSO AVAILABLE ON THE DEBTORS’ WEBSITE AT
WWW.GRACE.COM     AND    THE   VOTING   AGENT’S   WEBSITE   AT
WWW.BMCGROUP.COM/WRGRACE.

Dated: March 9, 2009

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